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                                     UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF SOUTH CAROLINA
                                         CHARLESTON DIVISION

                                          C.A. NO. ___________________


PALMETTO PHARMACEUTICALS LLC                                    )
                                                                )
                             Plaintiff,                         )
                                                                )
                                                                )
                             v.                                 )      COMPLAINT AND DEMAND
                                                                )      FOR JURY TRIAL
ASTRAZENECA PHARMACEUTICALS LP                                  )
                                                                )
                             Defendant.                         )
                                                                )


        Plaintiff Palmetto Pharmaceuticals LLC (“Palmetto”) for its complaint against defendant

AstraZeneca Pharmaceuticals LP (“AstraZeneca”) hereby alleges as follows:

                                                      Parties

        1.       Palmetto is a limited liability corporation organized under the laws of Delaware,

having a principal place of business at 211 King Street, Charleston, South Carolina 29401.

        2.       AstraZeneca is a limited partnership organized under the laws of Delaware, which

does business throughout the United States to include South Carolina. AstraZeneca has a

principal place of business at 1800 Concord Pike, Wilmington, Delaware 19850. AstraZeneca

maintains a registered agent in South Carolina, being CT Corporation System, 2 Office Park

Court, Suite 103, Columbia, South Carolina 29223.

                                               Jurisdiction and Venue

        3.       This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1338 because this action arises under the patent laws of the United States.




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        4.       AstraZeneca does extensive business in South Carolina and has committed acts of

infringement within the state, as herein alleged. As noted, AstraZeneca also maintains a

registered agent in the state. By virtue of these contacts, this Court has personal jurisdiction over

AstraZeneca.

        5.       Venue in this district is proper under 28 U.S.C. §§ 1391(c) and 1400 because the

defendant has committed acts of infringement in this district and is subject to personal

jurisdiction in the state.

                                         The Patent-in-Suit

        6.       Palmetto is the assignee and lawful owner of United States Patent No. 6,465,516

(the ‘516 patent), entitled “Method of Stimulating Nitric Oxide Synthase,” which issued on

October 15, 2002, and Reexamination Certificate No. 6,465,516C1, which issued on April 5,

2011. A copy of the ‘516 patent is attached as Exhibit A. A copy of the '516 reexamination

certificate is attached as Exhibit B.

        7.       The ‘516 patent claims a number of methods for treating nonhyperlipidemic

subjects who would benefit from increased Nitric Oxide production with Hmg-CoA reductase

inhibitors.

                                           Infringing Acts

        8.       AstraZeneca makes, offers to sell and sells a Hmg-CoA reductase inhibitor called

Crestor (rosuvastatin calcium).

        9.       In the package insert accompanying Crestor and elsewhere, AstraZeneca

promotes and encourages the use of Crestor,

                 In individuals without clinically evident coronary heart disease but with an
                 increased risk of cardiovascular disease based on age  50 years old in
                 men and  60 years old in women, hsCRP  2mg/L, and the presence of at
                 least one additional cardiovascular disease risk factor such as


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                 hypertension, low HDL-C, smoking, or a family history of premature
                 coronary heart disease, CRESTOR is indicated to:

                 Ɣ           reduce the risk of stroke

                 Ɣ           reduce the risk of myocardial infarction

                 Ɣ           reduce the risk of arterial revascularization procedures

          10.    AstraZeneca has actual knowledge of the ‘516 patent, and is aware that the use of

Crestor as described in Paragraph 9 infringes at least reexamined claims 1, 4 and 7 of the ‘516

patent. The use of Crestor as described in paragraph 9 also infringes reexamined claims 15-20 of

the ‘516 patent.

                                               Causes of Action

          11.    AstraZeneca’s acts constitute infringement of the ‘516 patent under 35 U.S.C. §

271(a).

          12.    AstraZeneca’s acts constitute active inducement of infringement of the ‘516

patent, and it is liable as an infringer under 35 U.S.C. § 271(b).

          13.    Astra Zeneca’s acts make it liable as a contributing infringer under 35 U.S.C. §

271(c).

                                               Prayer for Relief

          WHEREFORE, Palmetto seeks judgment against AstraZeneca as follows:

          1.     For monetary damages sufficient to compensate Palmetto for AstraZeneca’s

                 infringement of the reexamined claims of the ‘516 patent;

          2.     For enhanced damages due to the willful nature of AstraZeneca’s conduct;

          3.     For a permanent injunction prohibiting AstraZeneca from infringing the

                 reexamined claims of the ‘516 patent in the future;

          4.     For its attorneys fees and costs; and


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        5.       For such further relief as to which Palmetto may be entitled.

                                            Jury Demand

        Palmetto hereby demands a trial by jury.



Dated this 5th day of April, 2011.



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